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8
                               UNITED STATES DISTRICT COURT
 9
                              CENTRAL DISTRICT OF CALIFORNIA
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11
     MONICA R. K. 1, an Individual,               Case No.: 8:19-00685 ADS
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                         Plaintiff,
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                         v.
                                                  JUDGMENT OF REMAND
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     ANDREW M.     SAUL2,   Commissioner of
     Social Security,
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                         Defendant.
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22   1 Plaintiff’s name has been partially redacted in compliance with Federal Rule of Civil
     Procedure 5.2(c)(2)(B) and the recommendation of the Committee on Court
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     Administration and Case Management of the Judicial Conference of the United States.
     2 On June 17, 2019, Saul became the Commissioner of Social Security. Thus, he is
24
     automatically substituted as the defendant under Federal Rule of Civil Procedure 25(d).


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 1         In accordance with the Memorandum Opinion and Order, Dkt. No. 19, filed

 2   concurrently herewith,

 3         IT IS ORDERED AND ADJUDGED that the decision of the Commissioner of

 4   Social Security is reversed and the matter is remanded to the Commissioner for further

 5   proceedings consistent with the Memorandum Opinion and Order of Remand.

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 7   DATE: September 25, 2020

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                                            /s/ Autumn D. Spaeth
 9                                    THE HONORABLE AUTUMN D. SPAETH
                                      United States Magistrate Judge
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